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                           Exhibit 6:
           Dr. Kelly M. Socia Expert Report
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                DECLARATION OF KELLY M. SOCIA, PH.D.



                           Sex Crime Arrest Data and

             Recidivism of Individuals with Sex Crime Convictions



Prepared by:
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Dated: November 9, 2021


Note: The analyses and views represented in this document are those of Kelly M.
Socia, Ph.D., and do not necessarily reflect those of the University of Massachusetts,
Lowell.
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                                              Sex Crime Arrest Data and Recidivism


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                   Summary of Expert Witness Qualifications

      I am an Associate Professor in the School of Criminology and Justice Studies

and a Fellow for the Center for Public Opinion at the University of Massachusetts,

Lowell. I have approximately 40 peer-reviewed publications in journals such as

Criminology & Public Policy; Crime & Delinquency; Sex Abuse: A Journal of

Research and Treatment; and Psychology, Public Policy, and Law, in addition to

other scholarly publications (e.g., book chapters). I have served as co-editor of Sex

Offender Law Report, co-wrote an Oxford Bibliography entry on Sex Offender

Policy and Legislation, and have served as an expert witness/consultant in multiple

court cases involving the housing impacts of sex offender residency restrictions and

other post-release policies. My research interests include registered sex offenders

and public policies, reentry and recidivism, public opinion and policy-making, and

spatial analyses. I hold a Ph.D. and an M.A. in Criminal Justice from the School of

Criminal Justice at the University at Albany, State University of New York, and a

B.S. in Business Administration: Management Information Systems, from Rochester

Institute of Technology. My full curriculum vitae is attached as Exhibit A, a list of

publications in the last ten years as Exhibit B, and a list of cases in which I have

testified as an expert in the last four years as Exhibit C. In preparing this report, I

have relied on my own research, as well as my knowledge of the work of other

scholars in the field, as cited below.


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                          Summary of Research Findings

      Finding #1: Approximately 90-95 percent of sex crime arrests involve

individuals who do not have prior sex crime convictions, and thus who are not listed

on a sex offender registry at the time of the offense. This finding is not an effect of

registries, because it was also true before registries came into existence: more than

90 percent of sex crime arrests were committed by first-time offenders both before

and after registry laws were passed.

      Finding #2: The widely held public belief in a “frightening and high” sexual

recidivism rate is not supported by research evidence, and that specific statistic is a

myth resulting from junk science and shoddy research practices. A more reasonable

estimate of the official sexual recidivism rate (e.g., rearrests) among the population

of individuals listed on the sex offender registry, or with a prior sex offense before

registries existed, is between 5% and 15% (rearrest for a sex crime) within the first

five years of conviction/release. If reconviction is used as the indicator of recidivism

instead of rearrest, the rate is even lower. The recidivism rate for sexual offenders,

whether measured by rearrest or reconviction, is lower, and in most cases far lower,

than for all other categories of offenders (like non-sexual assailants, armed robbers,

drug dealers, or those who commit property crimes, etc.) but one: only murderers

have a lower recidivism rate than sexual offenders.




                                           2
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      Finding #3: In addition to the incorrect belief about “frightening and high”

recidivism, the public believes other inaccurate myths regarding individuals listed

on the registry. These include beliefs that most registrants have stranger victims

(they do not), are sexual predators and/or pedophiles (they are not), and registrants

are at a high risk to commit new non-sexual crimes, as well as sex crimes involving

strangers, kidnapping, and victims of all ages. None of these beliefs are supported

by research evidence on the criminal history of current registrants, nor research on

the recidivism rates of those on the registry. Despite the lack of clear evidence that

the registry actually reduces sex crimes or sexual recidivism, many members of the

public believe that it does work, which creates a false sense of security concerning

sex crimes. Additionally, much of the public admits that even if they were provided

with scientific evidence that the registry does not work, they would be unwilling to

change their beliefs about its efficacy.

      Finding #4: Perhaps because of these widely held, but incorrect, beliefs about

registrants and sex crimes generally, the public is intensely stigmatizing towards

anyone listed on the sex offender registry. This stigmatization of anyone on the sex

offender registry, in turn, negatively impacts the chances of successful reentry and

rehabilitation, especially as it relates to employment and housing outcomes.

      Finding #5: There is no consistent evidence that a failure to register (FTR)

conviction is associated with an increased likelihood of sexual recidivism. The


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limited research on this topic shows conflicted findings about what an FTR convic-

tion actually predicts in terms of future risk, and also suggests that FTR offenses are

not caused by sexually deviant intentions.

                          Summary of Existing Research

      1.     I start by summarizing the existing research relating to sex crime arrests

and sexual recidivism estimates, which informs or underlies all five of the statements

listed above. Next I turn to the research that directly supports each of the five

separate findings. First, I summarize the research on sex crime arrest data to support

Finding #1. Second, I present the research on sexual recidivism rates to support Find-

ing #2. Third, I summarize the research on public beliefs about “sex offenders,” sex

crimes, and stigmatization, including the influence of stigmatizing labels, to support

Finding #3. Fourth, I summarize the research on negative consequences for regis-

trants from the public to support Finding #4. Fifth, I summarize the research on

failure to register (FTR) convictions and recidivism risk, sexual and non-sexual, to

support Finding #5.

Sex Crime Arrest Data

      2.     A broad summary of the existing research on sex crime arrests suggests

that approximately 90-95% of all sex crime arrests involve individuals without prior

sex crime convictions (i.e., new perpetrators), who would also not be listed on a sex

offender registry at the time of the offense. (Levenson and Zgoba, 2016; Sandler,


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Freeman, and Socia, 2008.) Thus, only 5% to 10% of all sex crime arrests are repeat

sex crimes involving individuals with prior convictions, who would typically be on

the registry at the time of the follow-up offense. Studies underscoring these findings

are explored in more detail below.

      3.     Research in Florida found that just 6.5% of sex crime arrests involved

individuals with a prior sex crime conviction. (Levenson and Zgoba, 2016.) In New

York, 95% of the individuals arrested for sex crimes between 1986 and 2006 did not

have a prior registrable sex crime conviction on the record at the time of the offense.

(Sandler et al., 2008.) Further, Sandler and colleagues (2008) also found that the

implementation of the sex offender registry in New York State did not affect overall

sex crime rates, new sex crime rates, or repeat sex crime rates.

      4.     Stranger victim sex crimes. A related body of evidence shows that most

sex crimes are committed by acquaintances, family members, or other people who

know the victim, rather than by strangers. (Catalano, 2006; Snyder, 2000.) This is

contrary to the widely held notion that so-called “stranger danger” sex crimes

predominate. (Socia and Harris, 2016.) Indeed, research suggests that approximately

13%-15% of sex crimes reported to police are committed by strangers. (Bierie and

Budd, 2015; Snyder, 2000.) There are some fluctuations to these estimates based on

the data source, year examined, and the age of the victim. (C.f., Berzofsky, et al.,

2013; Catalano, 2006; Greenfield, 1997; Snyder, 2000.) Child-victim sex crimes,


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however, are consistently even less likely to involve strangers than adult-victim sex

crimes, with strangers accounting for just 5-10% of juvenile victim sexual assaults.

(See Greenfield, 1997; Snyder, 2000.)

      5.     As a result of the low proportion of sex crimes involving individuals on

the registry (5% to 10%; Craun et al., 2011; Levenson and Zgoba, 2016; Sandler et

al., 2008), combined with the low proportion of sex crimes involving strangers, it is

not surprising that research finds little support for the efficacy of post-release

policies like registration and notification, either in reducing recidivism or in making

communities safer. For instance, many independent studies have concluded that the

sex offender registry did not reduce sex offending rates and/or sexual recidivism in

a variety of states, including New York (Sandler et al., 2008), New Jersey (Veysey,

Zgoba, and Dalessandro, 2008; Zgoba, Jennings, and Salerno, 2018), South Carolina

(Letourneau, et al., 2010), and Florida (Levenson and Zgoba, 2016).

      6.     The most comprehensive study on sex offender registration and noti-

fication’s effectiveness is a recently-published meta-analysis that covered 18 indi-

vidual research studies, 25 years’ worth of evaluation data, and 474,640 formerly

incarcerated individuals. (Zgoba and Mitchell, 2021.) This study determined such

laws had no effect on recidivism. Specifically, the authors noted that their study

“provide[s] comprehensive evidence that SORN policies have no effect on sexual

and non-sexual crime commission over their period of existence, thereby failing to


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deliver on the intention of increasing public safety.” (Zgoba and Mitchell, 2021, p.

22.)

       7.    The little research that suggests registration/notification may influence

sex crimes is mixed. Both multi-state studies (Prescott and Rockoff, 2011; Vasquez,

Maddan, and Walker, 2008; Walker, et al., 2008) and systematic reviews (Washing-

ton State Institute for Public Policy, 2009) find no consistent evidence of the efficacy

of registration/notification in reducing sex crimes. In other words, there is little

evidence that these policies make communities any safer. However, there is limited

evidence that for stranger-perpetrated sex crimes, the registry may increase the speed

of closure (i.e., making an arrest) by an average of just over a day, perhaps due to

police more easily ruling out those on the registry. (Bierie and Budd, 2021; but see

Prescott and Rockoff, 2011.) Further, one study on 216 male federal offenders with

a prior or current sexual offense from a Midwestern jurisdiction found that while

those individuals with registerable sex offenses (N = 38) had more parole noncom-

pliance and revocation of their supervised release sentences than those with non-

registerable sex offenses, once risk assessment scores were considered, the effects

of the registry were rendered nonsignificant. (Drury, Delisi, and Elbert, 2021.) 1 This



1
  Of course, it is not surprising that those with registerable offenses had more
noncompliance violations, given the additional compliance requirements (and likely
increased supervision scrutiny) imposed by the registration requirements them-
selves.
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suggests that the registry has not particularly influenced such outcomes (parole

noncompliance and revocation), but rather this may be due to the differences in risk

between those who are subject to the registry and those who are not.

      8.     The above findings lead to several conclusions regarding sex crime

arrest data. First, between 90% and 95% of sex crime arrests involve individuals

who are not on the registry and do not have prior sex crime convictions (i.e., they

are new perpetrators). Second, the first finding is not an effect of registries, as the

data are the same before and after registries came into existence. Third, most sex

crimes occur between acquaintances, family members, or others with an established

relationship with the victim, rather than strangers, which undercuts the “stranger

danger” myth that the registry and similar post-release notification and monitoring

policies are founded upon. Fourth, there is scant evidence that the registry, commun-

ity notification, or other post-release sex crime policies actually reduce sex crime

rates. Indeed, those policies may make communities less safe, because individuals

who cannot easily reintegrate into society, or cannot find jobs, or who lack places to

live, or who are cut off from social support systems, may be more likely to reoffend,

whether sexually or otherwise. (Prescott and Rockoff, 2011.)

The Recidivism of Individuals Convicted of Sex Crimes

      9.     In McKune v. Lile, 536 U.S. 24, 33 (2002), a case concerning a prison

sex abuse treatment program, U.S. Supreme Court Justice Anthony Kennedy cited a


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“frightening and high” sexual recidivism rate of “as high as 80%” in his opinion.

Since then, that figure has been cited repeatedly by courts as a justification for sex

crime policies like the registry, and by proponents of these policies as evidence of

the “problem” of sexual recidivism. (See, e.g., Smith v. Doe, 538 U.S. 84, 103 (2003)

[citing McKune’s “frightening and high” comment in upholding Alaska’s sex offen-

der registration statute].) But a 2015 article demolished this argument, debunking

the myth of “frightening and high” recidivism rates, and showing that the “80%

recidivism rate” statistic was just plain wrong. (See Ellman and Ellman, 2015.)

Indeed, the source that Justice Kennedy used for this statistic was a (non-peer

reviewed) Department of Justice manual. (Schwartz and Cellini, 1988.). That

manual, in turn, cited the statistic from an article in the publication Psychology

Today, which is a non-academic mass-market magazine that is geared towards public

entertainment using pop-science (i.e., “infotainment”) – not peer-reviewed research.

      10.    In fact, the “as high as 80%” recidivism statistic contained in the

Psychology Today magazine article was actually an unsupported guess by therapists

who wrote the article, to explain their own work with a group of very high-risk

individuals with prior sex crime convictions enrolled in a single treatment program

for such offenders at Oregon State Hospital. (Freeman-Longo and Wall, 1986.)

Further, the “80% recidivism rate” statistic wasn’t the actual estimate – their article

noted a range that summarized the body of work that had been conducted to date


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(i.e., as of the mid-1980s): “Estimates of the recidivism rate among untreated sex

offenders range between 35% to 80%.” (Freeman-Longo and Wall, 1986.) This

unsupported claim was, in turn, then misused by the Department of Justice manual

to suggest that 80% was a factual recidivism rate estimate for all individuals with a

prior sex crime conviction, regardless of risk level, time since offense, or any other

relevant characteristics. This inaccurate statistic cited in the manual was then

erroneously cited as a fact by Justice Kennedy in his opinion, which in turn has

spread throughout later judicial opinions and legislative actions concerning individ-

uals with a prior sex crime conviction. (See Sullum, 2018.) In short, the 80% statistic

was the result of sloppy research practices relying on an inaccurate secondhand

citation to a vague estimate from an article in an “infotainment” magazine of no

scientific merit.

      11.    After the Ellmans’ 2015 article, the therapist responsible for the original

statistic, Dr. Freeman-Longo, said in a New York Times interview, “[That statistic]

got taken to say all sex offenders recidivate at 80%. That’s absolutely incorrect, it’s

wrong, it’s untrue.” (See Ellman and Ellman, 2015; Feige, 2017; Sullum, 2018.) He

further noted the lack of scientific credibility of the underlying source: “If you’re

going to base laws at the federal level, you don’t cite popular psychology magazines,

no matter who the author is, me or anybody else, it’s not a scientific journal. I’m

appalled that this could happen. This is not my intent. Not my intent at all.” (Feige,


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2017.) Indeed, the author of the Department of Justice manual cited by Justice

Kennedy, psychologist Barbara Schwartz, called Justice Kennedy’s use of the 80%

statistic an act of “deliberate indifference.” (Feige, 2017.)

      12.    In short: the 80% recidivism estimate is a perfect example of junk

science. Yet, because of the sloppy research practices used in producing the Depar-

tment of Justice manual, and Justice Kennedy’s use of the statistic in his opinion

about recidivism rates, this incorrect statistic has been relied upon as “fact” by judges

deciding subsequent court cases, and by legislators enacting registry and other laws,

to justify policies that have little or no scientific evidence to support them. (See

Sullum, 2018.) To be clear: modern peer-reviewed social-scientific research is

nearly unanimous in finding that the recidivism rate of individuals convicted of sex

offenses – far from being “frightening and high” – is actually “low” compared to all

other categories of offenders (except murderers). Further, while some people with

sex offense convictions may, in the years following release, be more likely to commit

future sex crimes than people without such convictions, the overall sexual recidivism

rate is still surprisingly low compared to the common myths. Overall, the research

on sexual recidivism suggests an official sexual recidivism rate of between 5% and

15% over 5 years, when measured as rearrests. (Hanson and Bussiere, 1998; Letour-

neau et al., 2010; Levenson and Shields, 2012; Zgoba et al., 2012; Zgoba et al.,




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2016.) 2 This is far different than the 80% rate that has become a popular urban (as

well as judicial) legend.

      13.    Problems estimating registrants’ recidivism rates. As noted earlier,

official statistics suggest that about 90% to 95% of sex crime arrests involve

individuals without a prior sex crime conviction. On its face, this suggests that only

about 5% to 10% of officially known sex crimes are committed by someone listed

on the registry at the time of the crime.

      14.    One of the stated intentions of the sex offender registry is to assist law

enforcement in solving sex crimes by providing a database of home addresses of

individuals with prior sex crime convictions (i.e., registrants). As such, if the registry

were working as intended, then it should increase law enforcement’s ability to solve

sex crimes committed by registrants, but it would not help law enforcement to solve

crimes committed by non-registrants. That is, if the registry “worked,” then



2
  Obviously, the official rate of sexual recidivism is not the same as the actual rate
of recidivism, as there are sex crimes that are committed but do not result in an arrest.
However, estimating the “actual” rate of sexual recidivism is a difficult task, and
prior research has not been able to provide reliable estimates. (See, e.g., Furby,
Weinrott, & Blackshaw, 1989.) Further, offender self-report studies show “the
number of unreported sexual offenses is a highly skewed distribution with relatively
few offenders having many victims.” (Scurich and John, 2019, p. 163.) Thus,
estimates about the number of sex crimes that are unreported are based around
measuring crimes, but can say nothing about the number of perpetrators that are
committing sex crimes that are not reported. Moreover, the issue of underreporting
applies both to non-registrants, who as noted above, commit 90-95% of sex crimes
resulting in arrest, and to people with past sex offense convictions.
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registrants should have a greater likelihood of being caught for a sex crime, com-

pared to non-registrants who commit a similar sex crime. It follows that if registrants

are more likely to be caught due to their registration, then registrants would be over-

represented in official arrest statistics of sex crimes, compared to the proportion of

all sex crimes committed in the United States. To state this another way, if we know

that registrants are estimated to commit 5-10% of sex crimes that result in arrest, and

they are more likely to be caught (arrested) than non-registrants due to the supposed

impact of the registry, then registrants should be responsible for less than 5-10% of

all sex crimes (both reported and unreported) that occur. Thus, if the registry has any

effectiveness in helping solve sex crimes, then it is only logical that registrants would

be responsible for less than the 5% to 10% estimate we find using official statistics.

Further, if registries are not effective in helping solve sex crimes, then logically a

registrant would have the same chance of being caught as a non-registrant.

      15.    Indeed, logical problems plague much of the research that attempts to

estimate unreported sexual recidivism. For example, some of this research relies on

interviews/surveys given to a group of very high-risk individuals, who are not

reflective of “registrants” as a general group. In other cases, such estimates are taken

from surveys of victims regarding sex crimes that go unreported to law enforcement,

but these estimates say nothing about the proportion that involve registrants com-

mitting recidivistic crimes, and thus cannot be used to estimate sexual recidivism. In


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still other cases, estimates are generated from studies that were conducted decades

in the past, sometimes before the existence of the registry itself, and do not reflect

the current population of registrants.

      16.    In any case, estimates of sexual recidivism taken from small samples of

high-risk individuals, or based on decades old data, cannot be seriously used as

evidence of high rates of sexual recidivism among the entire population of registrants

in the United States today. Instead, such studies can only be generalized, at best, to

a much smaller group of high-risk individuals (e.g., currently incarcerated, currently

in treatment, currently in secure mental facilities) that simply do not reflect the

typical registrant in the United States. 3


3
  Estimates of teenage cigarette smoking can provide a real-world example of this
logical fallacy. That is, if we wanted to estimate the extent of teenage smoking in
the United States, then we would want to sample a broad swath of teenagers in the
US. Perhaps we would randomly sample 1,000 teenagers from high schools across
the U.S., to provide estimates that would generalize to the current population of
teenagers in U.S. high schools. Let us imagine that we find 5.8% of the high school
students in our sample reported smoking a cigarette in the past 30 days. While there
would obviously be some margin of error if we were to generalize this 5.8% estimate
to the population of teenagers in the U.S., we could still make the case that our
estimate has external validity (i.e., reflects the larger population of U.S. high school
students), given our well-designed sampling strategy. But if we instead were to draw
our sample from teenagers in a handful of nicotine addiction treatment programs
around the U.S., we might find that 85% of our sample of teenagers had smoked a
cigarette in the past 30 days. Would it make sense to then estimate that 85% of all
teenagers in the United States smoked a cigarette in the past 30 days? Obviously not.
This is because our sample is drawn from a population of teenagers who are
inherently high risk for smoking, and thus does not reflect the “average” teenager in
the U.S. Our smoking estimate would not have external validity for generalizing to
teenagers in the U.S., but only for those teenagers from the addiction treatment
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Myths About Sex Crimes and “Sex Offenders”

      17.    As noted by Quinn, Forsyth, and Mullen-Quinn (2004), many of the

policies and practices in America that focus on people convicted of sex offenses are

based on popular beliefs (i.e., myths) that are not supported by evidence. Research

has confirmed the vast extent of the public’s misbeliefs regarding sex crimes and

“sex offenders”. For instance, a nationwide survey found that most of the public

perceived registrants as a “uniformly high-risk group that matches common misper-

ceptions concerning pedophilia, sexual dangerousness, and stranger-danger. Indeed,

perceptions of [registrants’] risk seem to tap a single underlying construct, based

largely on misconception and fear”. (Socia and Harris, 2016, p. 383; see also

Levenson et al., 2007.) Specifically, a majority of respondents believed that most

registrants were “pedophiles”, and “sexual predators”, and had stranger victims, and

also believed a majority of registrants were at a high risk of committing new sex

crimes, abducting kids, and having future child, teen, and adult victims. (Socia and

Harris, 2016.) Other research has found similar public misperceptions regarding

registrants’ risk profiles. (Craun and Theriot, 2009; Decluca et al., 2018.)

      18.    Perhaps more concerning, the reliance on inaccurate myths about

people with sex offense convictions does not appear to be easily fixed by providing


programs we sampled from. Further, if our estimates of teenage smoking relied on
studies conducted in the 1970’s and 1980’s, there is no indication that such estimates
would be reflective of current teenage smoking rates.
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the public with research evidence to the contrary. For instance, as noted above, one

nationwide survey found that much of the public acknowledges that research

evidence wouldn’t change their views concerning sex offender registry and notifi-

cation policies. (Socia and Harris, 2016; see also Levenson et al., 2007.)

       19.    The influence of language. Some research has found that even the term

used to describe individuals with sex crime convictions can influence the public’s

perceptions of risk, stigmatization, and preferred policy response for this population.

For instance, a nationwide survey experiment found that respondents were more

likely to support registries, residency restrictions, and social network bans when

asked about “sex offenders,” compared to being asked about “individuals convicted

of crimes of a sexual nature.” (Harris and Socia, 2016.) This suggests there is an

inherent knee-jerk reaction from the public in response to hearing the stigmatizing

term “sex offender,” or seeing an individual labeled as a “sex offender” on a public

registry website. 4

The Stigmatization of Individuals with Sex Crime Convictions

       20.    Unsurprisingly, and likely due to these inaccurate beliefs and knee-jerk

reactions, the public perceives all individuals with sex crime convictions with high



4
  Or, importantly, reading this term in an expert witness report. This is the reason
why much of my report refers to this population as “individuals with a prior sex
crime conviction” or similar “person-first” language, rather than the more loaded
and stigmatizing term of “sex offenders.”
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levels of fear, disgust, and general stigma. Stigma, described as “an attribute that is

deeply discrediting” (Goffman, 1963, p.3), has important effects on reentry and

rehabilitation, and can negatively impact future life chances. (Link and Phelan,

2001.) Specifically, stigma can influence whether an individual is able to secure

employment (Pager, 2003) or safe housing (Israelsen-Hartley, 2008), can increase

the chances of rearrest (Stolzenberg, D’Alessio, and Flexon, 2021), and influence

whether individuals are welcomed into social networks (Hirschfield and Piquero,

2010), all of which are important aspects of reentry and rehabilitation.

      21.    While any criminal conviction or incarceration background can lead to

disdain and distrust by members of the public (Leverentz, 2011; Young, 1999), those

with crimes that put them on a public registry (explicitly conveying a current

dangerousness to the public) are perhaps the most stigmatized by society. (See

Pickett, Mancini, and Mears, 2013; Edwards and Mottarella, 2014; Mingus and

Burchfield, 2012.) This, in turn, leads to problems for registrants when it comes to

finding suitable employment or housing.

Employment and Housing Consequences for Registrants

      22.    The existing research shows that registration and notification can have

substantial negative consequences for registrants when it comes to employment and

housing, likely as a result of the public stigma towards people listed on the registry,

which in turn is based around mythical beliefs. (Grossi, 2017, Zevitz and Farkas,


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2000a.) Surveys and interviews of samples of registrants and family members from

individual states or cities all show very similar results regarding these problems. For

instance, Tewksbury (2005) surveyed 121 individuals listed on the Kentucky sex

offender registry, finding that because of their registration status, many individuals

had experienced losing a job (42.7%), or being denied a promotion at work (23.1%).

Additionally, almost half (45.3%) reported having lost or been denied a place to live.

(See also, Tewksbury and Lees, 2006.) A survey of 183 registrants from outpatient

treatment facilities in Florida found that 27% have lost a job after bosses or

coworkers found out their sex offender registry status, 20% had to move from their

residence because their landlord found out, and 15% had to move because neighbors

complained. (Levenson and Cotter, 2005.) These findings were also seen in research

conducted in Connecticut and Indiana (Levenson, D’Amora, and Hern, 2007), New

Jersey (Mercado, Alverez, and Levenson, 2008), Wisconsin (Zevitz and Farkas,

2000b), and in a six-state study (Farkas and Miller, 2007), among many others.

      23.    These findings of employment and housing consequences are also

supported by research on opinions about registrants from the general public, as well

as from potential landlords. For instance, social science survey research has found

that the public is “more willing to subject criminal populations [e.g., sex offenders]

to poor and unsafe housing conditions compared with noncriminal populations.”

(Dum, Socia, Rydberg, 2017, p. 835; see also Socia, Dum, Rydberg, 2019.) Research


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on property owners from across the country has found that large portions would deny

any applicant who had a prior sexual offense. (Clark, 2007; Evans and Porter, 2015;

Helfgott, 1997.) In some cases, the decision by these landlords to deny or evict

individuals with sex crime convictions is directly due to the ability of other tenants

or neighbors to search the sex offender registry or otherwise be notified of nearby

registrants. (See Malkin, 2008; Zevitz and Farkas, 2000a, 2000b.)

Failure to Register (FTR) and Risk

      24.    Despite the common assumption that sex offenders who fail to register

are especially dangerous, relatively little evidence exists to support this belief.

(Levenson et al., 2010.) A small number of studies have explored whether a failure

to register (FTR) offense is related to recidivism risk, with very mixed findings.

Overall, there no is consistent evidence that FTR convictions do not consistently

predict increased sexual recidivism, and only slight evidence that FTR convictions

predict general (nonsexual) recidivism.

      25.    Just two studies have found any connections between FTR and sexual

recidivism. An early report from Washington State found that those convicted of

failure to register had higher rates of sexual recidivism (4.3% over 5 years) compared

to compliant registrants (2.8%), but it was unclear whether this difference was

statistically significant. (Barnowski, 2006.) Further, the overall recidivism rates

were quite low for both the FTR and non-FTR groups, and challenge the “80%


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recidivism rate” myth noted earlier. Interestingly, this study also found that as the

number of FTR convictions increased, the likelihood of sexual recidivism decreased,

a finding that muddies the connection between FTR offenses and sexual recidivism

risk. (Barnowski, 2006.)

      26.    A study of 7,055 adult male sex offenders registered and released in

New York State prior to August 2005 similarly found that an FTR conviction pre-

dicted both sexual and nonsexual recidivism. (Levenson et al., 2012.) However, an

FTR conviction only predicted sexual recidivism for offenders with adult victims,

not those with minor victims. (Levenson et al., 2012.) Further, offenders with FTR

convictions did not have more serious or more deviant sexual crimes. (Levenson et

al., 2012.) The researchers hypothesized that “although this finding could mean that

FTR is a marker of sexual deviance in some offenders, it may simply be yet another

marker of poor general self-regulation.” (Levenson et al., 2012, p. 562.)

      27.    Conversely, slightly more research finds just the opposite – that there

is no connection between FTR and sexual recidivism. Levenson and colleagues

(2010) examined criminal history data from 2,970 registered adult sex offenders in

South Carolina, finding that while an FTR conviction predicted increased general

(nonsexual) recidivism, it did not predict an increased chance of sexual recidivism.

Studies on individuals with sex crime convictions who were released from prison in

Minnesota (Duwe and Donnay, 2010) and New Jersey (Zgoba and Levenson, 2012)


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both found that an FTR offense did not predict either sexual or general recidivism.

Indeed, in the Minnesota study, an FTR conviction only increased the risk of a future

FTR offense. (Duwe and Donnay, 2010.)

      28.    Overall, the existing research suggests that registration noncompliance

(leading to an FTR conviction) “is more a reflection of general criminality, defiance,

carelessness, or apathy than of sexually devious intentions.” (Levenson et al., 2010,

p. 324; see also, Levenson et al., 2012; Thomson and Huebner, 2021; Zgoba and

Levenson, 2012.) This is not surprising, as FTR can be due to many different reasons

unrelated to criminal intentions, and FTR is not the same as willful absconding.

(Harris and Pattavina, 2009; Levenson and Harris, 2012; Levenson et al., 2012.) As

such, despite the potential resource burdens that processing FTR violations can place

on the criminal justice system, and the substantial disruption it can cause registrants

and their families, the research evidence does not show a clear connection between

FTR offenses and sexual recidivism risk.

Conclusions

      29.    Overall, the conclusions from this report can be summarized as follows:

First, the vast majority of sex crime arrests involve individuals who do not have a

prior sex crime conviction (i.e., “new sex crimes”), with only about 5-10% involving

those with prior sex crime convictions (i.e., “repeat sex crimes”). Second, despite

the myth of a “frightening and high”’ recidivism rate based on junk science,


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estimates of the official sexual recidivism rates for those convicted of sex crimes are

between 5 and 15% over 5 years. Third, in addition to inaccurate beliefs about sexual

recidivism, the public holds many other inaccurate beliefs about registrants and sex

crimes. Due to the public’s reliance on these inaccurate myths about the danger

posed by people on the registry, registrants experience intense stigmatization that

hurts their chances of successful reentry. Fourth, because of this stigmatization, there

are particularly negative and damaging effects on registrants’ ability to obtain stable

employment and housing in the community, both of which are key factors in success-

ful reentry. Fifth, there is no consistent evidence that an FTR conviction is associated

with an increased likelihood sexual recidivism, and research suggests that FTR

offenses are not themselves caused by sexually deviant intentions.

Statement of Compensation
      30.    I am being compensated at a rate of $150/hour for the initial ten hours

of work in researching and writing this report, and $250/hour thereafter. For court

testimony/ deposition time that may occur in the future, my rate is $350/hour, with

reimbursement of reasonable travel expenses as required.




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Oath and Signature

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge,

information, and belief.




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Report Signed and Submitted: November 9, 2021

References appear on the next page below.




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                             ATTACHMENT 1:

                 Comprehensive C.V. of Kelly M. Socia, PH.D.
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Assistant Professor, Fall 2011 – Summer 2012
       Department of Sociology, University of New Mexico

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      Sourcebook of Criminal Justice Statistics (University at Albany, SUNY)

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University at Albany, Albany, NY
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Peer Reviewed Publications

Dum, Christopher P., Socia, Kelly M., Bengt, Georges, and Neiderman, Halles. (in press) “The
      Effect of Reading Prisoner Poetry on Stigma and Public Attitudes: Results from a
      multigroup survey experiment” The Prison Journal.

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       Towards Individuals Convicted of Sex Offenses: A Vignette Study” Justice Quarterly.
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       Support of Emergency Housing Policies for Sex Offenders.” Sexual Abuse: A Journal of
       Research and Treatment. 31(1), 25-49. doi:10.1177/1079063217720925

Brown, Elizabeth K., Socia, Kelly M., and Silver, Jasmine R.s (2019) “Conflicted Conservatives,
      Punitive Views, and Anti-Black Racial Bias 1974-2014” Punishment & Society. 21(1), 3-
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Rydberg, Jason, Dum, Christopher P., and Socia, Kelly M. (2018) “Nobody Gives A #%&!: A
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      Sex Offender Residence Restrictions” Journal of Experimental Criminology. 14(4), 541-
      550. doi:10.1007/s11292-018-9335-5

Rydberg, Jason, Cassidy, Michael, and Socia, Kelly M. (2018). “Punishing the wicked:
      Examining the correlates of sentence severity for convicted sex offenders” Journal of
      Quantitative Criminology. 34(4), 943-970. doi:10.1007/s10940-017-9360-y

Brown, Elizabeth K. and Socia, Kelly M. (2017) “Twenty-First Century Punitivity: Social




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       Sources of Punitive American Views Reconsidered.” Journal of Quantitative
       Criminology. 33(4), 935-959. doi:10.1007/s10940-016-9319-4

Dum, Christopher P., Socia, Kelly M., and Rydberg, Jason. (2017) “Public support for
      emergency shelter housing interventions concerning stigmatized populations: Results
      from a randomized experiment.” Criminology & Public Policy. 16(3), 835-877.
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Socia, Kelly M. and Brown, Elizabeth K. (2017) “Up in Smoke: The Passage of Medical
       Marijuana Legislation and Enactment of Dispensary Moratoriums in Massachusetts.”
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Walfield, Scott M.s, Socia, Kelly M., and Powers, Ráchael A. (2017) “Religious Motivated Hate
       Crimes: A Multilevel Analysis of the Factors Related to Arrest.” American Journal of
       Criminal Justice. 42(1), 148-169. doi:10.1007/s12103-016-9349-3

Morabito, Melissa M., Socia, Kelly M., Wik, Amandas, and Fisher, William. (2017) “The Nature
      and Extent of Police Use of Force in Encounters with People with Behavioral Health
      Disorders.” International Journal of Law and Psychiatry. 50(1), 31-37.
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Briones, Rhissa R.s, Powers, Ráchael A., and Socia, Kelly M. (2016) “Sexual Orientation Bias
       Crimes: Examination of Victim Reporting, Perceptions of Police Bias, and Police
       Response.” Criminal Justice and Behavior. 43(12), 1688-1709.
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       presented by registered sex offenders: Evidence of Crime Control Theater?” Psychology,
       Public Policy, and Law. 22(4), 375-385. doi:10.1037/law0000081

Harris, Andrew J. and Socia, Kelly M. (2016) “What’s in a Name? Evaluating the Effects of the
        ‘Sex Offender’ Label on Public Opinions and Beliefs.” Sexual Abuse: A Journal of
        Research and Treatment. 28(7), 660-678. doi:10.1177/1079063214564391

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       New York Census Tracts.” Crime & Delinquency. 62(6), 748-776.
       doi:10.1177/0011128714526563

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      Patterns in a Sample of Sexual Offenders.” Journal of Interpersonal Violence. 31(10),
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       doi:10.1177/0887403414551000




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Pattavina, April, Socia, Kelly M., and Zuber, Malgorzatas (2016) “Economic Stress and
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       Reported to the Police 2005 to 2009” Justice Research and Policy, 16(2), 147-164.
       doi:10.1177/1525107115623938

Socia, Kelly M., Levenson, Jill S., Ackerman, Alissa R., and Harris, Andrew J. (2015)
       “‘Brothers Under the Bridge’: Factors Influencing the Transience of Registered Sex
       Offenders in Florida” Sexual Abuse: A Journal of Research and Treatment. 27(6), 559-
       586. doi:10.1177/1079063214521472

Morabito, Melissa S. and Socia, Kelly M. (2015) “Is Dangerousness a Myth? Injuries and Police
      Encounters with People with Mental Illness.” Criminology and Public Policy. 14(2), 253-
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      for art thou? Transient Sex Offenders and Residence Restrictions.” Criminal Justice
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       Quasi-Experimental Analysis of UCR Data.” Sexual Abuse: A Journal of Research and
       Treatment. 27(2), 205-227. doi:10.1177/1079063213509412

Socia, Kelly M. (2014) “Residence Restrictions are Ineffective, Inefficient, and Inadequate: So
       Now What?” Criminology & Public Policy. 13(1), 179-188. doi:10.1111/1745-
       9133.12071 [Policy Essay]

Socia, Kelly M. (2013) “Too Close for Comfort? Registered Sex Offender Spatial Clustering
       and Recidivistic Sex Crime Rates.” Sexual Abuse: A Journal of Research and Treatment.
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       Offender Clustering.” Criminal Justice Policy Review. 24(4), 441-475.
       doi:10.1177/0887403412445613

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       New York” Crime & Delinquency. 58(4), 612-642. doi:10.1177/0011128712441694

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       Control of Registered Sex Offenders.” Crime & Delinquency. 58(4), 565-587.
       doi:10.1177/0011128711420111

Socia, Kelly M. (2012) “The Implementation of County Residence Restrictions in New York.”
       Psychology, Public Policy, and Law. 18(2), 206-230. doi:10.1037/a0024993

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       Housing in Upstate, NY.” Criminology & Public Policy, 10(2), 351-389.
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       “Overview of ‘The Policy Implications of Residence Restrictions on Sex Offender
       Housing in Upstate, NY.’” Criminology & Public Policy, 10(2), 349-350.
       doi:10.1111/j.1745-9133.2011.00724.x

Socia, Kelly M. and Stamatel, Janet P.* (2010). “Assumptions and Evidence Behind Sex
       Offender Laws: Registration, Community Notification, and Residency Restrictions.”
       Sociology Compass. 4(1), 1-20. doi:10.1111/j.1751-9020.2009.00251.x

Freeman, Naomi J., Sandler, Jeffrey C., and Socia, Kelly M. (2009). “A Time-Series Analysis
      on the Impact of Sex Offender Registration and Community Notification on Plea
      Bargaining Rates.” Criminal Justice Studies: A Critical Journal of Crime, Law, and
      Society. 22(2), 153-165. doi:10.1080/14786010902975424

Sandler, Jeffrey C., Freeman, Naomi J., and Socia, Kelly M. (2008). “Does a Watched Pot Boil:
       A Time-Series Analysis of New York State's Sex Offender Registration and Notification
       Law.” Psychology, Public Policy, and Law. 14(4), 284-302. doi:10.1037/a0013881

Book Chapters and Other Publications

Socia, Kelly M. (2021) The Ancillary Consequences of SORN, (pp. 78-101). Book chapter in
       Sex Offender Registration and Community Notification Laws: An Empirical Evaluation.
       Logan, Wayne A. and Prescott, J.J. (eds). Cambridge University Press. ISBN:
       9781108328425

Rydberg, Jason, Socia, Kelly M., and Cassidy, Michael. (2018). “Community-Level Influences
      on the Sentencing of Convicted Sex Offenders, Pennsylvania, 2004-2010.” Ann Arbor,
      MI: Inter-university Consortium for Political and Social Research [distributor], 2018-08-
      07. https://doi.org/10.3886/ICPSR36593.v1 [Dataset]

Socia, Kelly M. (2017). “Sex Offender Civil Commitment Policies in Context.” Criminology &
       Public Policy. 16(3), 909-911. doi:10.1111/1745-9133.12329

Socia, Kelly M. (2016). “Sex Offender Housing Options in Fort Lauderdale, FL, Under a
       Residence Restriction Law. A Report for the American Civil Liberties Union of Florida
       (ACLU FL) and the Broward Chapter of the American Civil Liberties Union”

Socia, Kelly M. and Rydberg, Jason. (April 2016). Sex Offender Policy and Legislation. (pp.
       187-202). Book chapter in Advancing Criminology and Criminal Justice Policy.
       Blomberg, T., Mestre Brancal, J., Beaver, K., and Bales, W. (eds). Routledge. ISBN:
       978-1138829237

Socia, Kelly M. and Maroun, Rimonda R.s (2016). “Sex Offender Policies and Legislation.”
       In Oxford Bibliographies in Criminology. Ed. Beth M. Huebner. New
       York: Oxford University Press. ISBN: 9780195396607,
       doi:10.1093/OBO/9780195396607-0169
       -Revision and update posted February, 2019.




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In Sex Offender Law Report:
    (2015)
       Levenson, Jill S., Ackerman, Alissa R., Socia, Kelly M., and Harris, Andrew J.
              “Transient Sex Offenders and Residence Restrictions.” 16(1) 3-4, 12-13.
    (2013)
       “From the Literature.” 14(5), 69-70, 80.
       “Department of Defense Releases FY 2012 Annual Report on Sexual Assault in the
              Military.” 14(5), 72.
        “From the Literature.” 14(4), 51-52, 63-64.
        “From the Literature.” 14(3), 40-43.
        “Texas Says ‘No’ to Federal Registry Standards.” 14(3), 39.
        “From the Literature.” 14(2), 25-28.
        “Seventh Circuit Rules Indiana DOC Sex Offender Registry Error Policy Violates Due
              Process.” 14(2), 23-24.
        “Changes to California’s Three-Strikes Law Do Not Affect Many Ex-offenders.” 14(2),
              19-20.
        “From the Literature.” 14(1), 5-8.
    (2012)
        “Legal Challenge to State Residence Restriction Law in Rhode Island.” 13(6), 83, 95-96.
        “From the Literature.” 13(6), 85-88.
        “Evaluating Community-Based Management Practices.” 13(5), 65, 78-79.
        “From the Literature.” 13(5), 71-74.

Levenson, Jill S, Ackerman, Alissa R., Socia, Kelly M., and Harris, Andrew J. (2014).
      “Transient Sex Offenders and Residence Restrictions in Florida” Report to the Florida
      Action Committee. Lake Monroe, FL: Florida Action Committee.

Socia, Kelly M. (2011). The Obama Administration in The Encyclopedia of Drug Policy.
       (Kleiman, M. and Hawdon, J., eds.) SAGE Publications.

Socia, Kelly M. (2008). Spam in The Encyclopedia of Cyber Crime. (McQuade, S. C., ed.)
       Greenwood Press.

Socia, Kelly M. and McCarthy, Kevin J. (2008). Online Addiction in The Encyclopedia of Cyber
       Crime. (McQuade, S. C., ed.) Greenwood Press.

Newman, Graeme R., with the assistance of Kelly Socia. (2007). Sting Operations. Problem-
     Oriented Guides for Police, Response Guide No. 6. Washington, DC: U.S. Department of
     Justice, Office of Community Oriented Policing Services.

Publications Under Review

Socia, Kelly M., “Say her name: Public support for a law is higher when the law is named after
       a victim.” Revise and Resubmit (Justice Quarterly)

Socia, Kelly M., Stone, Rebecca; Palacios, Wilson; Cluverius, John, “Focus on Prevention: The
       public is more supportive of ‘Overdose Prevention Sites’ than they are of ‘Safe Injection



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       Facilities.” Revise and Resubmit (Criminology & Public Policy)

Conference Presentations (Last 5 years)

Socia, Kelly M., Palacios, Wilson R., and Stone, Rebecca. “The influence of message framing
       on support for safe injection facilities in the United States.” Annual Meetings of the
       Criminology Consortium, Online conference. November 2020.

Socia, Kelly M., Shields, Ryan T., and Burke, Camerons. “Getting Lucky or Getting Abused: A
       Content Analysis of Public Comments on News Articles About Sexual Abuse” Poster
       session. Association for the Treatment of Sexual Abusers Annual Conference, Online,
       October 2020.

Socia, Kelly M., Palacios, Wilson R., and Stone, Rebecca. “The influence of respondent
       characteristics on support for safe injection facilities in the United States.” American
       Society of Criminology Annual Conference, Washington, DC. [2020 conference
       cancelled due to Covid-19]

Shields, Ryan T., Kras, K.R., and Socia, Kelly M. “Examining public support for child sexual
       abuse prevention efforts.” American Society of Criminology Annual Conference,
       Washington, DC. [2020 conference cancelled due to Covid-19]

Socia, Kelly M., Palacios, Wilson R., and Stone, Rebecca. “The influence of message framing
       and respondent characteristics on support for safe injection facilities in the United
       States.” Howard League Crime, Justice, and Social Harms Conference. [2020 conference
       postponed to 2021 due to Covid-19]

Socia, Kelly M., Rydberg, Jason, and Dum, Christopher P. “Punitive Attitudes Towards
       Individuals Convicted of Sex Offenses: A Vignette Study.” Association for the Treatment
       of Sexual Abusers Annual Conference, Atlanta, GA, November 2019.

Rydberg, Jason, Socia, Kelly M., and Dum, Christopher P. “Shooting the Messenger:
      Experimental Evidence for How Knowledge Claims on Punitive Responses to Sex
      Offenders Impacts Perceived Expert Credibility.” American Society of Criminology
      Annual Conference, San Francisco, CA, November 2019.

Dum, Christopher P., and Socia, Kelly M. “Would God Forgive? Public Attitudes Toward Sex
      Offenders in Places of Worship.” American Society of Criminology Annual Conference,
      Atlanta, GA, November 2018.

Rydberg, Jason, Dum, Christopher P., and Socia, Kelly M., “Nobody gives a shit ...or do they?
      Variation in the effects of communicating criminological evidence on opposition to sex
      offender residence restrictions.” American Society of Criminology Annual Conference,
      Atlanta, GA, November 2018.




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Socia, Kelly M., Dum, Christopher P., and Rydberg, Jason “Revisiting Public Opinion:
       Replication of a Public Opinion Survey on Sex Offender Housing.” American Society of
       Criminology Annual Conference, Philadelphia, PA, November 2017.

Rydberg, Jason, Socia, Kelly M., and Dum, Christopher P. “Falling on Deaf Ears: The Effect of
      Criminological Research Findings on Public Support for Sex Offender Residence
      Restrictions.” American Society of Criminology Annual Conference, Philadelphia, PA,
      November 2017.

Socia, Kelly M. and Grady, Melissa D. “Perceptions of Sex Offender Policies in North
       Carolina.” American Society of Criminology Annual Meeting, New Orleans, LA,
       November 2016.

Cassidy, Michael, Rydberg, Jason, and Socia, Kelly M. “Community-Level Influences on the
       Sentencing of Convicted Sex Offenders.” American Society of Criminology Annual
       Meeting, New Orleans, LA, November 2016.

Socia, Kelly M. and Grady, Melissa D. “Perceptions of Sex Offender Policies in North
       Carolina.” Association for the Treatment of Sexual Abusers Annual Conference,
       Orlando, FL, November 2016.

Courses Taught

       Advanced Research Design (Ph.D.)
       Advanced Criminological Theories (Ph.D.)
       Descriptive and Inferential Statistics (Graduate, Online)
       Sex Crimes and Offenders (Graduate, Online)
       Criminology
       Honors Criminology
       Criminal Justice Research Methods (Online, Hybrid)
       Causes of Crime and Delinquency (Classroom and Online; University of New Mexico)
       American Criminal Courts (University at Albany, SUNY)

Fellowships, Assistantships, and Internships

Graduate Research Fellowship, National Institute of Justice, Fall 2010 – Spring 2011

Research Assistantship, University at Albany, SUNY
      Research Assistant, Sourcebook of Criminal Justice Statistics, Spring 2010 – Fall 2010
      Research Assistant for Dr. Janet Stamatel, Summer 2008 – Fall 2008
      Graduate Intern, Division of Criminal Justice Services, Spring 2007 – Summer 2007
      Research Assistant for Dr. Graeme Newman, Fall 2006

Teaching Assistantship, University at Albany, SUNY
      Instructor, American Criminal Courts (RCRJ 353), Summer 2008 – 2010; Fall 2009
      Discussion Leader, Criminology (RCRJ 203), Fall 2007; Spring 2008, 2009




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Graduate Internship, NY OMH, Sex Offender Risk Assessment & Record Review, Summer
     2008

Ph.D. Fellowship, University at Albany, SUNY, Fall 2006 – Spring 2007

Student Internship, Rochester N.Y. Secret Service Office, Winter 2004

Workshops Attended

       Funded Participant, ICPSR Summer Program (Conducting Research on Recidivism and
Reentry),
             University of Michigan (July 2010) **
       Funded Participant, ICPSR Summer Program (Quantitative Analysis of Crime and
Criminal
             Justice), University of Michigan (June – July 2010) **

Grants Received

       PI, “Addressing COVID-19 public health misinformation” (with co-PIs Wilson Palacios
               and John Cluverius), Internal Seed Grant, University of Massachusetts, Lowell,
               $10,000 (2020)
       Co-I, “Improving Identification, Prevalence Estimation, and Earlier Intervention for
               Victims of Labor and Sex Trafficking” (with PI Ryan Shields), 2019-VT-BX-
               0037, National Institute of Justice, $499,483 (2019)
       Co-PI, “Community-level influences on the sentencing of convicted sex offenders” (with
               PI Jason Rydberg), 2015-R2-CX-0039, National Institute of Justice, $39,997
               (2015)
       PI, “Analyzing Indicators of Disorder, Community Structure, and Crime in Lowell, MA”
               (with PI Melissa Morabito*), Internal Seed Grant, University of Massachusetts,
               Lowell, $8,000 (2014 – 2015)
       PI “Predictors of Injury and Reporting of Intraracial, Interracial, and Racially-Biased
               Nonsexual Assaults” (with PI Ráchael A. Powers*), 2013-R2-CX-0033, National
               Institute of Justice, $39,995 (2013). Data published as ICPSR36236-v1. Ann
               Arbor, MI: ICPSR [distributor], 2018-05-16.
               http://doi.org/10.3886/ICPSR36236.v1
       PI, “Neighborhood Conditions and Registered Sex Offender Recidivism” Research
               Allocation Committee Large Grant Competition, University of New Mexico,
               $7,995 (2011 – 2012)
       Travel Grant, 11th Crime Mapping Conference, National Institute of Justice (2011)
       Graduate Research Fellowship, “Residence Restriction Legislation and Sex Offender
               Residential Locations in New York” 2010-IJ-CX-0004, National Institute of
               Justice, $25,000 (Sept. 2010 – May 2011)
       Travel Grant, ICPSR Summer Program (Conducting Research on Recidivism and
       Reentry),
               University of Michigan, $1,250 (July 2010)
       Travel Grant, ICPSR Summer Program (Quantitative Analysis of Crime and Criminal
               Justice), University of Michigan, $3,500 (June – July, 2010)




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       Travel Grant, 10th Crime Mapping Conference, National Institute of Justice (2009)
       Travel Grant, School of Criminal Justice, University at Albany, $250 (2007 – 2010)
       Travel Grant, Graduate Student Organization, University at Albany, $350 (Fall 2007,
       2010)

Awards and Honors

       Teaching Award, School of Criminology and Justice Studies, 2013-2014
       President’s Award for Excellence in Teaching (Teaching Assistant), University at Albany
       (2010)
       Medal for Exceptional Civilian Service, Office of the Secretary of Defense (2006)
       Certificate of Appreciation as Student Crime Analyst, RIT Campus Safety (2005)
       2004 APICS D.W. Fogarty International Undergraduate Student Paper Competition,
               First Place, Regional Level; Second Place, Society Level
       RIT Presidential Merit Scholarship, A.H. Clark Scholarship

Invited Talks and Sessions

       Invited Discussant, Adoption of URE 404(b). Character Evidence; Crime or Other Acts.
               Utah Supreme Court Advisory Committee on Rules of Evidence, October 13,
               2020

       “Perception, Awareness, and Actions Regarding Child Abuse, Sex Offenders, and Public
              Policy” Plenary Talk, New York State Association for the Treatment of Sexual
              Abusers (NYS ATSA) and the Alliance Association Annual Conference, May 2016

       Invited Participant, Roundtable to Examine Sex Offender Residency Restrictions, New
               York State Assembly, Standing Committee on Correction, May 2015

       “Perception, Awareness, and Actions Regarding Child Abuse, Sex Offenders, and Public
              Policy” Closing Keynote, Virginia Sex Offender Treatment Association (VSOTA)
              Annual Conference, March 2015

Service to the Profession

       Associate Editor & Editorial Board Member, Victims and Offenders, 2020 – Present
       Grant Reviewer, Swiss National Science Foundation, 2020
       Grant Reviewer, Social Sciences and Humanities Research Council of Canada, 2019
       Editorial Board Member, Criminal Justice Policy Review, 2017 – Present
       Executive Board, Sex Offender Policy Research (SOPR) Working Group, 2015 – Present
       Faculty Mentor, ASC Mentoring Program, 2011 – Present
       Grant Reviewer, National Institute of Justice, 2011 – 2017
       Membership Committee, American Society of Criminology, 2012 – 2013
       Co-Editor (with Andrew Harris), Sex Offender Law Report, 2012 – 2013
       Editorial Assistant, Journal of Criminal Justice and Popular Culture, 2006 – 2011




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Service to the University/College

       Workshop Co-Host, “Academic Publishing” UML Center for Program Evaluation, 2021
       Massachusetts Society of Professors (Faculty Union)
               Social Sciences Representative [Elected Position], Executive Board, 2020-Present
               Department Representative, 2020-Present
               Contract Action Team Member, 2020-Present
       Fellow, Center for Public Opinion Research, 2014 – Present
       Faculty Mentor, Emerging Scholars Program, 2015-2016; 2020-2021
       Official Representative, ICPSR, 2013 – Present
       Grant Reviewer, UML Seed Grant Program, 2019
       Faculty Attendee, UML Open House, Fall 2012; Fall 2014; Spring 2016, Fall 2016
       Research Member, University Crossing Impact Study, 2014 - 2016
       Ally Space Member, UMass Lowell Ally Space, 2014 – Present

Service to the School/Department

       Personnel Committee, 2017 – Present
              Chair, 2018-2020
       Undergraduate Committee, 2012-2014; 2018-2020
       Graduate Committee, 2012 – 2020
       Search Committee, 2015, 2016, Chair 2017
       Qualifying Exam Committee, 2014 – Present
              Co-Wrote Proposal to Revise the Qualifying Exam, 2016
       Graduate Admissions Committee, 2014-2015
       Organizer/Panel Participant, ‘The Academic Job Market Brown Bag’, 2014, 2016
       Organizer/Panel Participant, ‘The NIJ Graduate Dissertation Fellowship’, 2014, 2016
       Research Committee, 2014-2015; 2020-Present
       Undergraduate Committee, UNM Sociology Department, 2011 – 2012
       President, SCJ Graduate Student Association, University at Albany, 2008 – 2009

Dissertations and Theses Committees

       Dissertation Chair:
              Vera Yakovchenko, UML Criminology & Justice Studies
              Eli Nader, UML Criminology & Justice Studies (Defended 2019)
              Trevor Fronius, UML Criminology & Justice Studies (Defended 2019)
              Ryan Leavens, UML Criminology & Justice Studies (Left Program)
       Dissertation Committee Member:
              Meridith Spencer, UML Criminology & Justice Studies (Defended 2019)
              Rimonda Maroun, UML Criminology & Justice Studies (Defended 2017)
              Scott Walfield, UML Criminology & Justice Studies (Defended 2016)
       Thesis Chair:
              Sanjeev Kc, Honors Thesis, UML Honors College
              Isabella Perez, Honors Thesis, UML Honors College
              Rachel Miller, Honors Thesis, UML Honors College (Defended 2020)
              Casey Jo Calabrese, Honors Thesis, UML Honors College (Defended 2020)



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       Thesis Committee Member:
              Shaina Ionin, Master’s Thesis, UML Criminology & Justice Studies
              Dylan Lambert, Honors Thesis, UML Honors College (Defended 2018)

Journal Reviewer, by year of first review

       2021: Forensic Science International: Mind and Law; International Review of
             Victimology; International Journal of Offender Therapy and Comparative
             Criminology; Policing
       2020: Contemporary Drug Problems; Social Justice Research; International Journal of
             Law, Crime and Justice; Law & Policy
       2019: Journal of Child Sexual Abuse; Trauma, Violence, and Abuse; Archives of Sexual
             Behavior; Housing, Care, and Support; BMC Medical Research Methodology;
             Justice Policy Journal
       2018: International Review of Law, Computers & Technology; Law & Social Inquiry;
             Preventive Medicine
       2017: Punishment & Society; Social Science Research
       2016: Journal of Sexual Aggression
       2015: Journal of Quantitative Criminology; Race and Justice; Victims and Offenders;
             Justice Quarterly
       2014: Aggression and Violent Behavior; Social Forces; Journal of Criminal Justice;
             Criminology, Criminal Justice, Law & Society; Journal of Policy Analysis and
             Management; Journal of Experimental Criminology; Criminal Justice Studies
       2013: Applied Spatial Analysis and Policy; Journal of Criminal Law and Criminology
       2012: American Journal of Criminal Justice; Criminal Justice Policy Review
       2011: Criminology; Crime & Delinquency; Albany Law Review (Special Issue)
       2010: Criminology & Public Policy

Affiliations (Past and Present)

       Crime and Justice Research Alliance
       Sex Offender Policy Working Group
       Association for the Treatment of Sexual Abusers (ATSA)
       Sex Offense Policy Research (SOPR)
       American Psychology-Law Society
       National White Collar Crime Center
       American Society of Criminology
       Academy of Criminal Justice Sciences

Professional Experience and Consulting Activities

Expert Witness/Subject Matter Expert, 2019 - Present
      1:18-CV-24145-KMW Does v. Swearingen – (Southern District of Florida)

Expert Witness/Subject Matter Expert, 2019 - Present
      National Association for Rational Sexual Offense Laws; NC RSOL; and John Does #'s 1
      and 2 v. Stein, Attorney General of the State of North Carolina; Erik A. Hooks, Secretary



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       of the North Carolina Department of Public Safety; et al. Case No. 1:17-cv-53 (Middle
       District of North Carolina)

Expert Witness/Subject Matter Expert, 2019 - 2020
      2018-CO-352 State v. William Wright – 4th Judicial Circuit, Nassau County, FL

Expert Witness/Subject Matter Expert, 2019 – Present
      Layfield v. Southwest Ranches –17th Judicial Circuit, Broward County, FL

Expert Witness/Subject Matter Expert, 2017 – 2018
      Does vs. Miami-Dade County, U.S. District Court, Southern District of Florida

Expert Witness/Subject Matter Expert, 2015 – 2019
      In Re Honor – Superior Court of the State of California, County of San Mateo

Expert Witness/Subject Matter Expert, 2015 – 2018
      Ft. Lauderdale vs. Anderson & Ford, 17th Judicial Circuit, Broward County, FL

Expert Witness/Subject Matter Expert, 2014 – 2016
      Martin v. Houston, U.S. District Court, Middle District of Alabama

Consultant, 2015
      Miami-Dade Public Defender’s Office

Technology Consultant, 2011 – 2015
      NY State Alliance of Sex Offender Service Providers (NYSASOSP), Albany, NY

Technology Consultant, 2008 – 2015
      NY State Association for the Treatment of Sexual Abusers (NYSATSA), Albany, NY

Management Analyst, 2005 – 2006
     Department of Defense, Office of the Under Secretary of Defense (Policy), Washington,
     DC
     Medal for Exceptional Civilian Service

Student Patrol Officer/Crime Analyst, 2003 – 2005
      Rochester Institute of Technology (RIT) Campus Safety, Rochester, NY
      Certificate of Appreciation as Student Crime Analyst

* Denotes equal contribution
** Indicates the reception of a conference-funded travel grant or similar award.
*** Denotes conference presentation given by a co-author.
s
  Denotes student co-author




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                            ATTACHMENT 2:

               Expert Witness Qualifications and Publications
                              (Last 10 years)
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        Appendix B: Expert Witness Qualifications and Publications (last 10 years)

       Dr. Socia is one of the leading experts in the world regarding the impact of sex crime

policies, as well as on public opinion regarding sex offenders and sex offenses. He has been

previously qualified as an expert witness by the Superior Court of the State of California (San

Mateo County), the County Court for the 17th Judicial Circuit (Broward County, Florida), and the

U.S. District Court of the Southern District of Florida. He currently has 40 peer-reviewed journal

articles, the majority of which relate to sex crimes and sex crime policies, in addition to other

publications on sex crime legislation and policy (e.g., book chapters, an Oxford Bibliography

entry). His work has been cited approximately 1,677 times according to Google Scholar, and his

research has been referenced in multiple court cases. He has previously served as co-editor to Sex

Offender Law Report. He has given multiple keynotes at conferences for state chapters of the

Association for the Treatment of Sexual Abusers. Below is a list of relevant publications.

Journal Publications, Book Chapters, and Reports Since 2011 (Relating to Sex Crimes,
Registrants, Sex Crime Policy, and Public opinion about such matters)

Peer-Reviewed Journal Publications

Dum, Christopher P., Socia, Kelly M., Bengt, George, and Neiderman, Halle. (in press) “The
      Effect of Reading Prisoner Poetry on Stigma and Public Attitudes: Results from a
      multigroup survey experiment” The Prison Journal.

Socia, Kelly M., Rydberg, Jason, and Dum, Christopher P. (2021) “Punitive Attitudes Towards
       Individuals Convicted of Sex Offenses: A Vignette Study” Justice Quarterly. 38(6),
       1262-1289. doi:10.1080/07418825.2019.1683218

Thompson, Lisa, Rydberg, Jason, Cassidy, Michael, Socia, Kelly M., (2020) “Contextual
     Influences on the Sentencing of Convicted Sex Offenders” Sexual Abuse: A Journal of
     Research and Treatment. 32(7), 778-805. doi:10.1177/1079063219852936

Socia, Kelly M., Grady, Melissa D., Bolder, Tess, Cronin, Kelli, Hurt, Christi, Vidrine, Sarah
       (2020) “Perceptions of Individuals Who Commit Sexual Offenses and Related Policies:
       A Group Comparison” Criminal Justice Policy Review. 31(7), 1059-1094.
       doi:10.1177/0887403419873126



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Dum, Christopher P., Socia, Kelly M., Yarrison, Fritz, and Long-Yarrison, Brooke L. (2020)
      “Would God Forgive? Attitudes Towards Sex Offenders in Places of Worship.” Sexual
      Abuse: A Journal of Research and Treatment. 32(5), 567-590.
      doi:10.1177/1079063219839498

Socia, Kelly M., Dum, Christopher P., and Rydberg, Jason. (2019) “Turning a Blind Eye: Public
       Support of Emergency Housing Policies for Sex Offenders.” Sexual Abuse: A Journal of
       Research and Treatment. 31(1), 25-49. doi:10.1177/1079063217720925

Rydberg, Jason, Dum, Christopher P., and Socia, Kelly M. (2018) “Nobody Gives A #%&!: A
      Factorial Survey Examining The Effect Of Criminological Evidence On Opposition To
      Sex Offender Residence Restrictions” Journal of Experimental Criminology. 14(4), 541-
      550. doi:10.1007/s11292-018-9335-5

Rydberg, Jason, Cassidy, Michael, and Socia, Kelly M. (2018). “Punishing the wicked:
      Examining the correlates of sentence severity for convicted sex offenders” Journal of
      Quantitative Criminology. 34(4), 943-970. doi:10.1007/s10940-017-9360-y

Dum, Christopher P., Socia, Kelly M., and Rydberg, Jason. (2017) “Public support for
      emergency shelter housing interventions concerning stigmatized populations: Results
      from a randomized experiment.” Criminology & Public Policy. 16(3), 835-877.
      doi:10.1111/1745-9133.12311

Socia, Kelly M., and Harris, Andrew J. (2016) “Evaluating public perceptions of the risk
       presented by registered sex offenders: Evidence of Crime Control Theater?” Psychology,
       Public Policy, and Law. 22(4), 375-385. doi:10.1037/law0000081

Harris, Andrew J. and Socia, Kelly M. (2016) “What’s in a Name? Evaluating the Effects of the
        ‘Sex Offender’ Label on Public Opinions and Beliefs.” Sexual Abuse: A Journal of
        Research and Treatment. 28(7), 660-678. doi:10.1177/1079063214564391

Socia, Kelly M. (2016) “Examining the Concentration of Registered Sex Offenders in Upstate
       New York Census Tracts.” Crime & Delinquency. 62(6), 748-776.
       doi:10.1177/0011128714526563

Levenson, Jill S. and Socia, Kelly M. (2016) “Adverse Childhood Experiences and Arrest
      Patterns in a Sample of Sexual Offenders.” Journal of Interpersonal Violence. 31(10),
      1883-1911. doi:10.1177/0886260515570751

Socia, Kelly M., Levenson, Jill S., Ackerman, Alissa R., and Harris, Andrew J. (2015)
       “‘Brothers Under the Bridge’: Factors Influencing the Transience of Registered Sex
       Offenders in Florida” Sexual Abuse: A Journal of Research and Treatment. 27(6), 559-
       586. doi:10.1177/1079063214521472

Levenson, Jill S., Ackerman, Alissa R., Socia, Kelly M., and Harris, Andrew J. (2015) “Where
      for art thou? Transient Sex Offenders and Residence Restrictions.” Criminal Justice

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       Policy Review. 26(4), 319-344. doi:10.1177/0887403413512326

Socia, Kelly M. (2015) “State Residence Restrictions and Forcible Rape Rates: A Multi-State
       Quasi-Experimental Analysis of UCR Data.” Sexual Abuse: A Journal of Research and
       Treatment. 27(2), 205-227. doi:10.1177/1079063213509412

Socia, Kelly M. (2014) “Residence Restrictions are Ineffective, Inefficient, and Inadequate: So
       Now What?” Criminology & Public Policy. 13(1), 179-188. doi:10.1111/1745-
       9133.12071 [Policy Essay]

Socia, Kelly M. (2013) “Too Close for Comfort? Registered Sex Offender Spatial Clustering
       and Recidivistic Sex Crime Rates.” Sexual Abuse: A Journal of Research and Treatment.
       25(6), 531-556. doi:10.1177/1079063212469061

Socia, Kelly M. (2013) “Residence Restrictions and the Association with Registered Sex
       Offender Clustering.” Criminal Justice Policy Review. 24(4), 441-475.
       doi:10.1177/0887403412445613

Socia, Kelly M. (2012) “The Efficacy of County-Level Sex Offender Residence Restrictions in
       New York” Crime & Delinquency. 58(4), 612-642. doi:10.1177/0011128712441694

Socia, Kelly M. and Stamatel, Janet P.* (2012) “Neighborhood Characteristics and the Social
       Control of Registered Sex Offenders.” Crime & Delinquency. 58(4), 565-587.
       doi:10.1177/0011128711420111

Socia, Kelly M. (2012) “The Implementation of County Residence Restrictions in New York.”
       Psychology, Public Policy, and Law. 18(2), 206-230. doi:10.1037/a0024993

Socia, Kelly M. (2011) “The Policy Implications of Residence Restrictions on Sex Offender
       Housing in Upstate, NY.” Criminology & Public Policy, 10(2), 351-389.
       doi:10.1111/j.1745-9133.2011.00713.x

       “Overview of ‘The Policy Implications of Residence Restrictions on Sex Offender
       Housing in Upstate, NY.’” Criminology & Public Policy, 10(2), 349-350.
       doi:10.1111/j.1745-9133.2011.00724.x

Book Chapters, Reports, and Other Publications

Socia, Kelly M. (2021) The Ancillary Consequences of SORN, (pp. 78-101). Book chapter in Sex
        Offender Registration and Community Notification Laws: An Empirical Evaluation. Logan,
        Wayne A. and Prescott, J.J. (eds). Cambridge University Press. ISBN: 9781108328425

Rydberg, Jason, Socia, Kelly M., and Cassidy, Michael. (2018). “Community-Level Influences on
      the Sentencing of Convicted Sex Offenders, Pennsylvania, 2004-2010.” Ann Arbor, MI:
      Inter-university Consortium for Political and Social Research [distributor], 2018-08-07.
      https://doi.org/10.3886/ICPSR36593.v1 [Dataset]

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Socia, Kelly M. (2017). “Sex Offender Civil Commitment Policies in Context.” Criminology &
        Public Policy. 16(3), 909-911. doi:10.1111/1745-9133.12329

Socia, Kelly M. (2016). “Sex Offender Housing Options in Fort Lauderdale, FL, Under a
        Residence Restriction Law. A Report for the American Civil Liberties Union of Florida
        (ACLU FL) and the Broward Chapter of the American Civil Liberties Union” ACLU Florida.

Socia, Kelly M. and Rydberg, Jason. (April 2016). Sex Offender Policy and Legislation. (pp. 187-
        202). Book chapter in Advancing Criminology and Criminal Justice Policy. Blomberg, T.,
        Mestre Brancal, J., Beaver, K., and Bales, W. (eds). Routledge. ISBN: 978-1138829237

Socia, Kelly M. and Maroun, Rimonda R. (2016). “Sex Offender Policies and Legislation.”
        In Oxford Bibliographies in Criminology. Ed. Beth M. Huebner. New
        York: Oxford University Press. ISBN: 9780195396607,
        doi:10.1093/OBO/9780195396607-0169
        -Revision and update posted February, 2019.

In Sex Offender Law Report:
    (2015)
        Levenson, Jill S., Ackerman, Alissa R., Socia, Kelly M., and Harris, Andrew J. “Transient
           Sex Offenders and Residence Restrictions.” 16(1) 3-4, 12-13. (2013)
        “From the Literature.” 14(5), 69-70, 80.
        “Department of Defense Releases FY 2012 Annual Report on Sexual Assault in the
            Military.” 14(5), 72.
         “From the Literature.” 14(4), 51-52, 63-64.
         “From the Literature.” 14(3), 40-43.
         “Texas Says ‘No’ to Federal Registry Standards.” 14(3), 39.
         “From the Literature.” 14(2), 25-28.
         “Seventh Circuit Rules Indiana DOC Sex Offender Registry Error Policy Violates Due
            Process.” 14(2), 23-24.
         “Changes to California’s Three-Strikes Law Do Not Affect Many Ex-offenders.” 14(2), 19-
            20.
         “From the Literature.” 14(1), 5-8. (2012)
         “Legal Challenge to State Residence Restriction Law in Rhode Island.” 13(6), 83, 95-96.
         “From the Literature.” 13(6), 85-88.
         “Evaluating Community-Based Management Practices.” 13(5), 65, 78-79.
         “From the Literature.” 13(5), 71-74.

Levenson, Jill S, Ackerman, Alissa R., Socia, Kelly M., and Harris, Andrew J. (2014). “Transient
      Sex Offenders and Residence Restrictions in Florida” Report to the Florida Action
      Committee. Lake Monroe, FL: Florida Action Committee.



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                              ATTACHMENT 3:

                  List of Other Relevant Expert Witness Cases
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                  Appendix C: List of Other Relevant Expert Witness Cases


The cases that Dr. Socia has served as an expert witness or similar duties for in the last 4 years

include:

       Does v. Miami Dade County (14-23933-Civ-Huck/McAliley, USDC So. FL)

       Does v Swearingen, (Case 1:18-cv-24145-KMW, USDC So. FL)

       Ft. Lauderdale v. Anderson & Ford (17-003615MO19A and 13-010799MO10A,
       Broward Co. Ct., FL)

       In Re Honor (SC073793A, Superior Court of the State of California, County of San
       Mateo)

       Layfield v. Southwest Ranches (CACE19-019498; Circuit Court of the Seventeenth
       Judicial Circuit in and for Broward County, Florida)

       National Association for Rational Sexual Offense Laws; NC RSOL; and John Does #'s 1
       and 2 v. Joshua Stein, Attorney General of the State of North Carolina; Erik A.Hooks,
       Secretary of the North Carolina Department of Public Safety; et al. (1:17-cv-53, Middle
       District of North Carolina)

       State v. William Wright (2018-CO-352, County Court of the Fourth Judicial Circuit,
       Nassau County, FL)

Dr. Socia is also a signatory on Brief of Amici Curiae in cases that include: In re Gadlin (No.
S254599) before the Supreme Court of the State of California; Commonwealth of Pennsylvania
v. Torsilieri (37 MAP 2018) before the Supreme Court of Pennsylvania; Haymond v. United
States (No. 17-1672) and Vasquez v. Foxx (Illinois, No. 18-386), both before the Supreme Court
of the United States.




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